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                      UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF NEW YORK

UTICA MUTUAL INSURANCE COMPANY,
               Plaintiff,
                                                      Civil Action No.:
                                                      6:09-CV-0853 DNH
       v.                                       JUDGMENT ON PARTIAL FINDINGS

FIREMAN’S FUND INSURANCE COMPANY
               Defendant,



      JURY VERDICT. This action came before the Court for a trial by jury. The issues have been tried
and the jury has rendered its verdict.

 X      DECISION BY COURT. This action came to trial or hearing before the Court. The issues have
been tried or heard and a decision has been rendered.

Pursuant to the oral order of the Hon David N. Hurd, USDJ, on December 14, 2017 in open Court
in United States District Court for the Northern District of New York in Utica, NY, denying
defendant Fireman’s Fund Insurance Company’s first counterclaim for intentional misrepresentation
and second counterclaim for negligent misrepresentation and for a judgment on partial findings
pursuant to F. Rule Civ. P. Rule 52(c),

  IT IS ORDERED AND ADJUDGED: That judgment on partial findings is entered in favor of plaintiff
Utica Mutual Insurance Company and against Fireman’s Fund Insurance Company, dismissing Fireman’s
Fund Insurance Company’s first counterclaim for intentional misrepresentation and second counterclaim
for negligent misrepresentation pursuant to F. Rule Civ. P. Rule 52(c).


Date: December 15, 2017




ENTERED 12/15/2017
BY PTM                                                    -S-
                                                      Phillip T. McBrearty
                                                      Deputy Clerk
